                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,                             :

                             Plaintiff,               :   Case No. 2:13-CR-8

       vs.                                            :   JUDGE SARGUS

GREGORY KNEICE,                                       :   STANDARD ACTION DOCKET

                             Defendant.               :


         DEFENDANT=S MOTION TO REDUCE SENTENCE, PURSUANT TO
            18 U.S.C. ' 3582(c)(2), IN AN AAGREED DISPOSITION CASE@

       Pursuant to 18 U.S.C. ' 3582(c)(2), Defendant Kneice, through undersigned counsel,

hereby moves this Court for an Order reducing his sentence from 45 months to 36 months based on

the retroactive application of the November 1, 2014 drug amendment.

                                           Respectfully submitted,



                                               /s/ Gordon G. Hobson
                                           Gordon G. Hobson (0004681)
                                           Senior Litigator
                                           Federal Public Defender’s Office
                                           10 West Broad Street, Suite 1020
                                           Columbus, Ohio 43215-3469
                                           (614) 469-2999
                                           Gordon_Hobson@fd.org

                                           Attorney for Defendant
                                           Gregory Kneice
                                         MEMORANDUM

          At Defendant=s original sentencing hearing, his total offense level was 29 given the

quantity of drugs for which he was held accountable. Moreover, Defendant=s criminal history

category was determined to be I. A combination of these two Guideline determinations yielded a

sentencing range of 87 to 108 months. Defendant was then sentenced to serve 45 months in

prison.

          On November 1, 2014, the United States Sentencing Commission promulgated Guideline

Amendment 782 which reduced by two levels the guidelines for all drugs, found in USSG ' 2D1.1,

as well as listed chemicals found in § 2D1.11. Persons who are serving drug sentences are

eligible for retroactive application of the guideline as long as they meet certain eligibility criteria.

          Recently counsel for the government, representatives of the United States Probation Office

and undersigned counsel met to consider the merits of Defendant=s case.                 All agreed to

recommend to this Court that Defendant met the Commission=s eligibility requirements for the

retroactive application of the Guideline Amendment 782 to his case.

          After the November 1, 2014 drug amendment is retroactively applied, Defendant=s total

offense level is reduced to 27. This reduction yields a new advisory sentencing range of 70 to 87

months when combined with Defendant=s criminal history category. Finally, the parties jointly

recommend that this Court reduce Defendant=s sentence to 36 months.

          In arriving at this recommended sentence, the parties ascertained the point in the original

Guideline range where Defendant was first sentenced as well as the extent of any downward

departure due to his substantial assistance, if applicable. Finally, the parties also considered

unique facts about both Defendant=s case and behavior while incarcerated to conclude that his

early release did not present a danger to the safety of the public.

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        For the reasons articulated herein, Defendant Gregory Kneice, through undersigned

counsel, herein moves this Court for an Order reducing his sentence to 36 months. Defendant has

been apprised of this proposed agreed resolution and this motion is submitted with both his

knowledge and authorization.

        Under Amendment 782 a defendant cannot be released from BOP custody until November

1, 2015. If the requested reduction results in defendant’s new release date being moved to prior to

November 1, 2015, the parties agree that November 1, 2015 should be the agreed upon release

date.

                                             Respectfully submitted,



                                                 /s/ Gordon G. Hobson
                                             Gordon G. Hobson (0004681)
                                             Senior Litigator
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                                             Attorney for Defendant
                                             Gregory Kneice




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                               CERTIFICATE OF SERVICE
      I hereby certify that a true and accurate copy of the Motion to Reduce Sentence Pursuant to

' 3582(c)(2) was served electronically upon Kenneth Parker Assistant United States Attorney,

Chief Criminal Division, this 27th day of March, 2015.



                                                    /s/ Gordon G. Hobson
                                            Gordon G. Hobson (0004681)
                                            Senior Litigator

                                            Attorney for Defendant
                                            Gregory Kneice




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